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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

 MARY BAYES and PHILIP BAYES,

                 Plaintiffs,

         v.
                                                       Case No. 4:13-cv-00800-SRC
 BIOMET, INC., BIOMET ORTHOPEDICS,
 LLC, BIOMET U.S. RECONSTRUCTION,
 LLC, BIOMET MANUFACTURING, LLC
 f/k/a BIOMET MANUFACTURING CORP.,

                 Defendants.

                        DEFENDANTS’ MOTION FOR NEW TRIAL
                      OR, IN THE ALTERNATIVE, FOR REMITTITUR

        As discussed in Biomet’s contemporaneously filed motions, Biomet maintains that it is

entitled to entry of judgment in its favor as to all of Plaintiffs’ claims, either based on the verdict,

see Biomet’s Motion to Amend the Judgment, Dkt. 437, or as a matter of law notwithstanding

the verdict, see Biomet’s Renewed Motion for Judgment as a Matter of Law, Dkt. 439.

        Should the Court deny Biomet’s requests for a judgment in its favor, Biomet moves in the

alternative for a new trial on all issues. As more fully set forth in Biomet’s memorandum filed

contemporaneously with this motion, this Court should grant Biomet a new trial based on the

jury’s inconsistent verdict and because the jury verdict for Plaintiffs on their claim of negligent

design was against the weight of the evidence and resulted in a manifest injustice. Biomet is also

entitled to a new trial based on the errors at trial, including but not limited to the erroneous

omission of Biomet’s affirmative converse jury instruction, misconduct by Plaintiffs’ attorneys,

and the effects of the COVID-19 pandemic on the trial and the jury. In the alternative, Biomet




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urges the Court to grant a new trial or a remittitur of the jury’s grossly excessive award of $21

million in compensatory damages to Plaintiffs.

       WHEREFORE, if the Court denies Defendants’ motion for judgment based on the verdict

or as a matter of law, Defendants urge the Court in the alternative to grant them a new trial on all

issues. Finally, again in the alternative, Defendants urge the Court to grant their motion for

remittitur of the jury’s excessive damage award of $21 million.


Dated: December 18, 2020                      /s/ John P. Mandler
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                                CERTIFICATE OF SERVICE

       I certify that on December 18, 2020, I electronically filed the foregoing document with the
Clerk of the Court using the CM/ECF system.

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                                     /s/ John P. Mandler




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